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                   UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION


 THOUSAND OAKS BARREL CO.,
 LLC,

              Plaintiff

       v.                                          No. 23 CV 3378

 THE PARTNERSHIPS AND                              Judge Jeremy C. Daniel
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE A,

              Defendants


                                      ORDER

Minute entry related to [35]. The plaintiff’s motion for a preliminary injunction [20]
is denied for the reasons stated on the record during the July 5, 2023, motion hearing
and for the reasons stated in this order.

                                   STATEMENT

In support of its motion for a preliminary injunction, the plaintiff claims that the
defendants sell “low-quality, unlicensed infringing products to unknowing
consumers.” [21] at 1. The plaintiff further claims that a preliminary injunction is
warranted because the “Defendants have infringed upon Plaintiff’s federally
registered trademarks.” [21] at 4. Though the plaintiff’s motion tends to focus on
trademark infringement, the plaintiff also claims that the defendants infringe the
plaintiff’s design patents. [21] at 1.

The plaintiff also points to its prior motion for a temporary restraining order [10] in
support of its motion for a preliminary injunction. There, the plaintiff states that
“[t]he documentation submitted by Thousand Oaks shows that an ordinary observer
would be deceived into thinking that the Infringing Product was the same as the
Foghat Design.” [10] at 17. That statement comprises the entirety of the plaintiff’s
design patent infringement analysis in either filing. See [10], [21]. The plaintiff
further claims that it is likely to succeed on its trademark infringement claims
because the allegedly infringing products are “identical or similar to the FOGHAT
Design and/or use counterfeit marks identical to the FOGHAT Mark.” [10] at 19.
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The plaintiff’s claims of trademark infringement are not supported by the record. Of
the defendants for whom the plaintiff provided screenshots of the allegedly infringing
products [10-3], no more than three used or referenced the plaintiff’s marks in
connection with the sale of an allegedly infringing product. That did not stop the
plaintiff from making broad claims of trademark infringement. At the hearing on the
plaintiff’s motion for a preliminary injunction, plaintiff’s counsel acknowledged that
all the plaintiff’s trademark claims have been dismissed. Consequently, the plaintiff
cannot receive injunctive relief based on trademark infringement.

That leaves the plaintiff’s design patent claims, which do not warrant injunctive
relief. To obtain a preliminary injunction, a plaintiff must show that: (1) without this
relief, it will likely suffer irreparable harm; (2) traditional legal remedies would be
inadequate; and (3) it is likely to succeed on the merits. Mays v. Dart, 974 F.3d 810,
818, 822 (7th Cir. 2020). The plaintiff has not established any of these elements. Many
of the plaintiff’s claims concerning irreparable harm stem from the alleged trademark
infringement, which is no longer at issue because the plaintiff dismissed its
trademark claims. The plaintiff has made no attempt to show how the alleged design
patent infringement caused irreparable harm to the plaintiff or how damages under
35 U.S.C. § 289 are inadequate.

Nor has the plaintiff shown that it is likely to succeed on the merits. To establish
infringement of a design patent, “the patentee must establish that an ordinary
observer, familiar with the prior art designs, would be deceived into believing that
the accused product is the same as the patented design.” Richardson v. Stanley
Works, Inc., 597 F.3d 1288, 1295 (Fed. Cir. 2010). Plaintiff’s counsel acknowledged
that the plaintiff’s pleadings and declarations do not compare the allegedly infringing
products to the plaintiff’s design patents. Rather, as with its trademark claims, the
plaintiff makes broad claims of design patent infringement without actually showing
any infringement. The plaintiff submitted copies of its design patents and screenshots
of the allegedly infringing products and then, at the hearing, its counsel noted that
“if you review the listings that we have, you can plainly see that the products match
the design of my client’s product that’s protected by the design patent.” When asked
whether the plaintiff’s design patents, which show a round or cylindrical top, covered
a hexagonal top offered by one of the defendants, the plaintiff’s counsel claimed that
they did. Given that shape-sorting toys intended for toddlers require one to
distinguish between a circle and a hexagon, the plaintiff’s argument is unconvincing.
The plaintiff has made little to no effort to show that the defendants infringe the
plaintiff’s design patents, which means that the plaintiff has failed to show that it is
likely to succeed on the merits.




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Accordingly, the plaintiff’s motion for a preliminary injunction [20] is denied.



Date: 7/20/2023
                                                      JEREMY C. DANIEL
                                                      United States District Judge




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